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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

AURORA MOLINA,

                Plaintiff,

v.                                                       No. CV 20-670 KWR/CG

ETHICON, INC., et al.,

                Defendants.

             ORDER ADOPTING MULTI-DISTRICT LITIGATION ORDERS

       THIS MATTER is before the Court on the parties’ Joint Motion to Adopt Certain

2327 Pretrial Orders (the “Joint Motion”), (Doc. 28), filed October 14, 2020. The parties

in their Joint Motion ask that the following Multi-District Litigation (“MDL”) No. 2327

Ethicon, Inc., Pelvic Repair System Products Liability Litigation Pretrial Orders, originally

entered by the United States District Court for the Southern District of West Virginia

(“SDWV”), be adopted in this case:

       1. MDL No. 2327, SDWV Docket No. 204, Pretrial Order No. 11 – Stipulated

          Protective Order, (Doc. 28-1);

       2. MDL No. 2327, SDWV Docket No. 235, Pretrial Order No. 13 – Stipulation for

          the Production of Documents and Electronically Stored Information, (Doc. 28-

          2);

       3. MDL No. 2327, SDWV Docket No. 545, Pretrial Order No. 45 – Preservation

          Order, (Doc. 28-3); and

       4. MDL No. 2327, SDWV Docket No. 1657, Pretrial Order No. 190 – Pathology

          Protocol for Preservation and Testing of Explants and Tissue Samples Taken

          from Plaintiffs, (Doc. 28-4).
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      The Court, having reviewed the Joint Motion, finds the Joint Motion is well-taken

and shall be GRANTED.

      IT IS THEREFORE ORDERED that the above listed MDL No. 2327 Ethicon, Inc.,

Pelvic Repair System Products Liability Litigation Pretrial Orders shall be adopted in

these proceedings.

      IT IS SO ORDERED.



                                  THE HONORABLE CARMEN E. GARZA
                                  CHIEF UNITED STATES MAGISTRATE JUDGE
